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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

                                             )
SECURITIES AND EXCHANGE COMMISSION,          )
                                             )
             Plaintiff,                      )
                                             )
v.                                           )   Civil Action No.
                                             )   3:17-cv-00155-VAB
MARK J. VARACCHI and                         )
SENTINEL GROWTH FUND                         )
MANAGEMENT, LLC,                             )
                                             )
             Defendants,                     )
and                                          )
                                             )
RADAR ALTERNATIVE FUND LP and                )
RADAR ALTERNATIVE MASTER FUND SPC,           )
                                             )
             Relief Defendants.              )
                                             )

     EIGHTH INTERIM APPLICATION FOR PROFESSIONAL FEES AND EXPENSES
             INCURRED BY THE RECEIVER AND HIS PROFESSIONALS
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     EIGHTH INTERIM APPLICATION FOR PROFESSIONAL FEES AND EXPENSES
             INCURRED BY THE RECEIVER AND HIS PROFESSIONALS

        Jed Horwitt, Esq. (the “Receiver”), as the Receiver appointed by this Court in the above-

captioned action (the “Receivership Proceeding”) commenced by the Securities and Exchange

Commission (the “SEC” or “Commission”), by and through his undersigned counsel, and Zeisler

& Zeisler, P.C. (“Z&Z”), as counsel for the Receiver, pursuant to this Court’s Order Appointing

Receiver entered May 1, 2017 (ECF No. 12, the “Receivership Order”) and Order Reappointing

Receiver (ECF No. 47, the “Reappointment Order”, and together with the Receivership Order, the

“Receivership Orders”) entered February 14, 2018, respectfully submits this eighth interim

application (the “Application”) for professional fees and expenses incurred on behalf of the

Receivership Estate (as defined in the Receivership Orders) by the Receiver, Z&Z, and the

Receiver’s accountant and financial advisor, Verdolino & Lowey, P.C. (“V&L”) during the period

commencing January 1, 2019, through and including March 31, 2019 (the “Compensation

Period”). In advance of filing, the Receiver shared this Application with counsel for the

Commission, and the Commission’s counsel has stated that the Commission has no objection to

the approval of the professional fees and expenses requested herein.

        In support of this Application, the Receiver, V&L, and Z&Z respectfully represent as

follows:

I.      SUMMARY OF PROFESSIONAL FEES AND EXPENSES REQUESTED

        1.      Jed Horwitt, Esq. serves in his capacity as the Court-appointed Receiver for

Sentinel Growth Fund Management, LLC (“Sentinel”), Radar Alternative Fund LP (“Radar LP”)

and Radar Alternative Master Fund SPC (“Radar SPC” and, together with Radar LP, collectively,

the “Relief Defendants,” and the Relief Defendants together with Sentinel, collectively, the

“Receivership Entities”).


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        2.      This Application has been prepared in accordance with the Billing Instructions for

Receivers in Civil Actions Commenced by the U.S. Securities and Exchange Commission (the

“SEC Guidelines”) and the Receivership Orders.

        3.      Pursuant to the SEC Guidelines, the following exhibits are attached to this

Application:

        a.      The completed Standardized Fund Accounting Report (“SFAR”), in the form
                prescribed by the SEC Guidelines, and certified by Receiver, is attached hereto as
                Exhibit A;

        b.      A Certification of Compliance with the SEC Guidelines by the Receiver and Z&Z
                is attached hereto as Exhibit B;

        c.      A summary of total expenses for which reimbursement is requested for Z&Z is
                attached hereto as Exhibit C;

        d.      Time records summarizing the work performed by the Receiver and his legal
                professionals and paraprofessionals for each of their Activity Categories (as
                hereinafter defined) are attached hereto as Exhibits D-1; D-2, D-3, D-4, D-5; D-7,
                D-8, D-9, D-10, and D-11.1

        e.      A Certification of Compliance with the SEC Guidelines by V&L is attached
                hereto as Exhibit E;

        f.      A summary of total expenses for which reimbursement is requested for V&L is
                attached hereto as Exhibit F; and

        g.      Time records summarizing the work performed by V&L’s accounting
                professionals and paraprofessionals for each of its Activity Categories (as
                hereinafter defined) during the V&L Compensation Period are attached hereto as
                Exhibits G-1; G-2, G-3, and G-4.

        4.      The Receiver and Z&Z attorneys and paraprofessionals have expended a total of



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 Because their contents include privileged and confidential material, protected attorney work-product, and
other sensitive information describing, inter alia, the Receiver’s strategy in this Receivership Proceeding,
and pursuant to the Court’s Order entered August 11, 2017 (ECF No. 25), Exs. D-1 through D-11 are filed
under seal. Furthermore, the Receiver and Z&Z have intentionally omitted time records from their Activity
Category Six (Application for Professional Fees and Expenses), because they are not requesting
compensation for services performed under this Activity Category.


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810.46 hours working on this matter during the Compensation Period. The Receiver and Z&Z seek

allowance of compensation of services rendered during the Compensation Period on behalf of the

Receivership Estate in the amount of $228,549.40, and reimbursement of actual and necessary

expenses in the amount of $34,253.24.

       5.      The Receiver’s accountant and financial advisor V&L’s professionals and

paraprofessional have expended a total of 59.90 hours working on this matter during the

Compensation Period. V&L seeks allowance of compensation of services rendered during the

Compensation Period on behalf of the Receivership Estate in the amount of $14,686.40, and

reimbursement of actual and necessary expenses in the amount of $0.00.

       6.      The Receiver, V&L, and Z&Z acknowledge that their fee compensation is subject

to a twenty percent (20%) holdback, pursuant to the SEC Guidelines and the Receivership Orders.

       7.      The fees assessed reflect the hours worked by the Receiver, Z&Z attorneys and

paraprofessionals and V&L professionals and paraprofessionals, and the hourly rates applicable at

the time that they rendered their services, as modified by the significant discounts provided by the

Receiver, Z&Z, and V&L (described below).

       8.      These amounts also take into account all relevant circumstances and factors as set

forth in the Connecticut Rules of Professional Conduct and the SEC Guidelines, including the

nature of the services performed, the amount of time spent, the experience and ability of the

professionals and paraprofessional working on this engagement, the novelty and complexity of the

specific issues involved, the time limitations imposed by the circumstances, and the

responsibilities undertaken by the Receiver under the Receivership Orders.

       9.      Section III below summarizes the Receiver’s administration of the Receivership

Estate since his appointment. A narrative description of the particular services provided by the



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Receiver and Z&Z’s attorneys and paraprofessionals is included in the time records attached as

Ex. D-1 through D-11. A narrative description of the particular services provided by V&L’s

professionals and paraprofessionals is included in the time records attached as Ex. G-1 through G-

4.

       10.     Z&Z’s expense reimbursements requested are principally consist in the following:

(i) PACER charges for accessing electronic documents in the numerous federal litigations relevant

to the Receivership Proceeding; (ii) shipping charges; (iii) expenses associated with the Receiver’s

website; (iv) fees for service of subpoenas and complaints; (v) expert witness consulting fees; (vi)

photocopying; (vii) processing and hosting of electronically stored information related to litigation

relevant to the Receivership Proceeding; and (viii) online legal research. (See Ex. C.)

       11.     V&L did not incur any expenses during the Compensation Period. (See Ex. F.)

       12.     The Receiver, Z&Z, and V&L have not sought reimbursement for secretarial, word

processing, proofreading or document preparation expenses (other than by professionals or

paraprofessionals), data processing and other staff services (exclusive of paraprofessional services)

or clerical overtime. Nor have the Receiver, Z&Z, and V&L requested reimbursement for any

meals during the Compensation Period.

       13.     The Receiver and Z&Z have complied with the SEC Guidelines’ internal

photocopying rates as follows: $0.15 per page for black and white and $1.00 per page for color

copies. V&L has not requested reimbursement for photocopying during the Compensation Period.

       A.      Discounts

       14.     As proposed by the Receiver as part of his application for selection as receiver

submitted to the Commission, and as provided in the Receivership Orders, the Receiver, V&L,

and Z&Z have consented to and implemented substantial public service discounts with respect to

their billing rates for services provided in this Receivership Proceeding.
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       15.      More specifically, and as shown in the fee schedules set forth below, Z&Z and V&L

have consented to 20% public service discounts to its regularly applicable hourly rates for all legal

professionals and paraprofessionals.

       16.      The Receiver originally agreed to discount his generally applicable hourly rate for

services provided when serving primarily in his capacity as Receiver to $250 per hour, reflecting

a 50% discount. Notwithstanding, as an additional discount, despite the fact that many of the

services provided by the Receiver during the Compensation Period were mostly legal in nature,

the Receiver and Z&Z have voluntarily applied the much more deeply discounted $250 hourly pay

rate to all of the Receiver’s time during this period.

       B.       Fee Schedules

       17.      The fee schedule for the Receiver, showing: his name; the hourly rate applied to his

services in this Receivership Proceeding and his customary hourly rate; the discount reflected in

the applied hourly rate; the number of hours of services performed in the Compensation Period;

the amount billed for such services in the Compensation Period; and the amount of the discount to

his services during the Compensation Period; is as follows:


   Receiver            Rate               Rate           Hours          Amount           Amount
                    (Cust. Rate)        Discount                         Billed         Discounted
 Horwitt, Jed       $250 ($500)           $250            10.40         $2,600.00        $2,600.00

       18.      The fee schedule for all Z&Z legal professionals who provided services during the

Compensation Period, showing for each: his or her name; the hourly rate applied to his or her

services in this Receivership Proceeding and his or her customary hourly rate; the discount

reflected in the applied hourly rate; the number of hours of services performed in the Compensation

Period; the amount billed for such services in the Compensation Period; and the amount of the

discount to his or her services during the Compensation Period; is as follows:

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        Legal               Rate           Rate        Hours       Amount            Amount
    Professional         (Cust. Rate)    Discount                    Billed        Discounted
 Cesaroni, John          $240 ($300)       $60          4.40       $1,056.00         $264.00
 Kindseth, Stephen       $340 ($425)       $85         109.63     $37,274.20        $9,318.55
 Moriarty, James         $320 ($400)       $80          31.50     $10,080.00        $2,520.00
 Romney, Aaron           $320 ($400)       $80         294.00     $94,080.00       $23,520.00
 Vaughan, Rion           $240 ($300)       $60         318.63     $76,471.20       $19,117.80
 Blau, Christopher       $220 ($275)       $55          1.10        $242.00           $60.50
 Linsey, Patrick         $264 ($317)       $53          6.10       $1,610.40         $323.30

       19.      The fee schedule for the legal paraprofessional who provided services during the

Compensation Period, showing: his or her name; the hourly rate applied to his or her services in

this Receivership Proceeding and his or her customary hourly rate; the discount reflected in the

applied hourly rate; the number of hours of services performed in the Compensation Period; the

amount billed for such services in the Compensation Period; and the amount of the discount to his

or her services during the Compensation Period; is as follows:


      Legal              Rate             Rate          Hours        Amount          Amount
 Paraprofessional     (Cust. Rate)      Discount                       Billed       Discounted
 Joseph, Kristin      $148 ($185)         $37           1.30          $192.40         $48.10
 O’Brien, Barbara     $148 ($185)         $37            3.30          448.40         $610.50
 Accurso, Ian         $148 ($185)         $37           30.10        $4,454.80       $1,113.70

       20.      The fee schedule for all V&L accounting professionals who provided services

during the Compensation Period, showing for each: his or her name; the hourly rate applied to his

or her services in this Receivership Proceeding and his or her customary hourly rate; the discount

reflected in the applied hourly rate; the number of hours of services performed in the Compensation

Period; the amount billed for such services in the Compensation Period; and the amount of the

discount to his or her services during the Compensation Period; is as follows:


 Accounting                Rate            Rate         Hours          Amount         Amount
 Professional           (Cust. Rate)     Discount                       Billed       Discounted
 Bailey, P              $196 ($245)        $49           19.40         $3,802.40      $950.60

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 Bailey, T             $280 ($350)         $70          7.30          $2,044.00        $511.00
 McDonald              $244 ($305)         $61          1.10           $268.40          $67.10
 Lowey                 $372 ($465)         $93          5.20          $1,934.40        $483.60
 Sturgeon              $268 ($335)         $67          15.30         $4,100.40       $1,025.10
 Whitehouse            $228 ($285)         $57          10.1          $2,302.80        $575.70
 Messere               $156 ($195)         $39          1.50           $234.00          $58.50

       C.      Activity Categories

       21.     Pursuant to the SEC Guidelines, the Receiver, V&L, and Z&Z have utilized the

following activity categories (each an “Activity Category,” and, collectively, the “Activity

Categories”) under which the following fees have been incurred during the Compensation Period:

                Activity Categories Utilized by Receiver and Legal Professionals

       a.      Category One: Case Administration, 31.90 hours, $8,166.00 (see Ex. D-1);

       b.      Category Two: Asset Analysis & Recovery, 27.60 hours, $6,774.00 (see Ex. D-2);

       c.      Category Three: Asset Disposition, 0 hours, $0.00 (see Ex. D-3);

       d.      Category Four: Business Operations, 0 hours, $0.00 (see Ex. D-4);

       e.      Category Five: Claims Administration & Objections, 35.50 hours, $9,715.40 (see

Ex. D-5);

       f.      Category Six: Application for Professional Fees and Expenses, the Receiver and

Z&Z are not including time incurred for these services in their Application (see Ex. D-6);

       g.      Category Seven: Litigation – Taran Asset Management, LLC, et al., 35.50 hours,

$9,715.40 (see Ex. D-7); and

       h.      Category Eight: Litigation – A. L. Sarroff Management, LLC, et al., 467.93

hours, $132,474.60 (see Ex. D-8).

       i.      Category Nine: Litigation – Shay Kostiner, 0 hours, $0.00 (see Ex. D-9).

       j.      Category Ten: Litigation – Weeden Prime Services, LLC, 146.20 hours,

$48,855.00 (see Ex. D-10).

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       k.      Category Eleven: Litigation – Rajo Corp., 0 hours, $0.00 (see Ex. D-11).

                   Activity Categories Utilized by Accounting Professionals

       a.      Category One: Tax Return Preparation, 20.80 hours, $5,380.40 (see Ex. G-1);

       b.      Category Two: Data Analysis, 25.20 hours, $5,225.50 (see Ex. G-2);

       c.      Category Three: Forensic Accounting, 0 hours, $0.00 (see Ex. G-3); and

       d.      Category Four: Expert Report Preparation, 13.90 hours, $4,077.20 (see Ex. G-4).

II.    SUMMARY OF CASH ON HAND

       22.     The Receiver did not make any disbursements during the Compensation Period.

       23.     As of March 31, 2019, the Receiver held in the Receivership Account (as defined

and discussed in Section IV-D below) the amount of $266,495.39.

       24.     In accordance with the Plan Approval Order, prior to the Compensation period, the

Receiver transferred $801,365.01 from the Receivership Account to a newly established

segregated account (the “Reserve Account”) to “ensure that if a Remaining Disputed Claim is

Allowed, the Receiver shall have funds left to pay such Allowed Claim in the amount provided for

in the Plan of Distribution for such category of Claimant.” See Plan Approval Order § 8(xi). Z&Z

attorneys consulted with V&L to ensure that the Reserve Account was established as a Qualified

Settlement Fund under Section 468B of the Internal Revenue Code, and that the establishment and

funding of the Reserve Account did not disrupt the Receivership Account’s Qualified Settlement

Fund status.

       25.     As of March 31, 2019, the Reserve Account continued to hold the balance of

$801,365.01.

       26.     The Receiver’s cash on hand held in the Receivership Account and the Reserve

Account, therefore, total, as of March 31, 2019, the amount of $1,067,860.40. This combined

balance reflects an increase of $216.73 accrued during the Compensation Period. (See Ex. A.)
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III.   SUMMARY OF RECEIVER’S ADMINISTRATION OF THE ESTATE

       27.     During the Compensation Period, the Receiver diligently exercised his duties

pursuant to the terms of the Receivership Orders and made significant progress in investigating,

marshalling and liquidating Receivership Assets for distribution to the holders of Allowed Claims

against the Receivership Estate. Items requiring significant work by the Receiver and his

professionals, as discussed in more detail below, were, in summary, continuing to litigate

previously commenced civil actions, to investigate and analyze potential additional causes of

action, and to evaluate the Remaining Disputed Claims.

       28.     Utilizing Z&Z as his legal professionals and V&L as his accountants and financial

advisors, the Receiver has undertaken the following on behalf of the Receivership Estate:

       A.       The Receiver’s Website and Investor Contact

       29.     At all times during the Compensation Period, the Receiver has maintained a website

– http://jedhorwittreceiver.com – that has provided information to the public concerning the

Receivership Proceeding, in addition to the more particular notices provided to parties-in-interest.

       30.     The website states who the Receiver is and describes his role, provides access to

filings in the Receivership Proceeding, and contains contact information such that interested

parties may contact Z&Z attorneys by e-mail or telephone with questions, concerns or information.

       31.     Z&Z’s professionals, on behalf of the Receiver, have fielded and effectively

responded to inquiries from investors in order to ensure that they are educated concerning the

Receivership Proceeding and the claims management procedures discussed herein.

       B.      The Seventh Quarterly Status Report

       32.     The Receiver and Z&Z also prepared and, on March 1, 2019, filed the Sixth

Quarterly Status Report (ECF No. 90). In drafting the Seventh Quarterly Status Report, the

Receiver and Z&Z compiled comprehensive information to update the Court, the Commission and

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all other parties-in-interest as to the Receiver’s operations, the Receivership Estate’s assets, the

status of various litigation and Claims against the Receivership Estate.

          C.    Marshaling of Receivership Assets and Receipt of Assets by Receiver

          33.   Shortly after his appointment, pursuant to the Receivership Order, the Receiver

opened an account at a financial institution experienced in servicing court-appointed receivers (and

like fiduciaries), which account (the “Receivership Account”) holds funds marshaled by the

Receiver and constitutes a Receivership Asset.

          34.   Pursuant to the Court’s orders, the Receiver and Z&Z previously undertook to

assume control and possession over the funds held in certain frozen accounts and to transfer them

to the Receivership Account.

          35.   During the Compensation Period, the Receivership Account accrued interest at a

rate of 0.33% monthly, amounting to total interest payments of $216.73 for the Compensation

Period.

          D.    Claims Administration

          36.   During the Compensation Period, Z&Z attorneys further investigated the

Receivership Estate’s basis for objecting to the Remaining Disputed Claims.

          37.   With respect to the claim submitted by Neila Fortino, the Receiver thoroughly

analyzed the factual and legal basis for her asserted claim in the amount of $4,038,000. After the

completion of his investigation, on March 11, 2019, the Receiver’s counsel articulated his position

with respect to the claim and the basis for his objection to Fortino’s counsel. In accordance with

the Plan Approval Order, the Receiver anticipates filing a formal objection to the claim for this

Court’s consideration.

          38.   The claimant, Flatiron Partners, has objected to the Receiver’s application of the

Rising Tide Method of distribution to its investments in the Relief Defendants. Flatiron Partners

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requested that the Receiver not include a $2 million withdrawal and reinvestment made in close

proximity for purposes of calculating its percentage of recovery prior to the commencement of this

Receivership Proceeding. After researching this issue and considering the various policy and

equitable concerns involved, the Receiver has concluded that all investment transfers should be

included in applying the Rising Tide Method regardless of the time lapse between certain receipts

and deposits. The Receiver expects to submit this issue to this Court for its consideration and

adjudication.

       E.       Litigation - TAM Action

       39.      During the Compensation Period, the Receiver and Z&Z continued to prosecute

their lawsuit, Jed Horwitt Esq., Receiver v. Taran Asset Management, LLC et al., (Civil Action

No.: 3:17-cv-01840-KAD) (the “TAM Action”), against Taran Asset Management, LLC

(“TAM”), Christopher Gleason (“Gleason” and, together with TAM, the “TAM Defendants”), and

Baseline Advisors, LLC (“Baseline” and, together with the TAM Defendants, the “Original TAM

Defendants”) in the United States District Court for the District of Connecticut.

       40.      The TAM Action originally sought to recover pursuant to the Connecticut Uniform

Fraudulent Transfer Act, Conn. Gen. Stat. §§ 52-552 et seq. (“CUFTA”), approximately $1.2

million that Varacchi caused Sentinel to pay allegedly to or for the benefit of the Original TAM

Defendants.

       41.      Prior to the Compensation Period, Z&Z attorneys uncovered evidence that

appeared to show that Varacchi had caused Sentinel to pay certain debts incurred by TAM prior

to Sentinel’s existence and at a time when Varacchi was TAM’s Chief Operating Officer. In total,

from October 15, 2013, through November 30, 2016, Varacchi, in furtherance of his Ponzi scheme,

apparently used assets of the Receivership Entities or caused Sentinel to make a series of transfers

to such creditors of TAM for the benefit of the TAM Defendants in the aggregate amount of
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$390,279.88 (the “TAM Debt Transfers”). In the course of settlement negotiations, the TAM

Defendants produced substantial financial records to Z&Z attorneys in an effort to demonstrate

that collection of a judgment against these parties was unlikely and impractical. This production

included bank records which demonstrated how the proceeds of the settlement payment Varacchi

had caused Sentinel to pay to TAM were disbursed. Z&Z attorneys traced approximately $730,000

of the settlement payment proceeds (the “Subsequent Transfers”) to just three parties – Edmond

Tschan, Robin Taxman, and Myron Taxman (together, the “Subsequent Transferee Defendants”)

– each of whom the Receiver has reason to believe did not receive the Subsequent Transfers in

good faith.

       42.     Accordingly, prior to the Compensation Period, on June 15, 2018, Z&Z attorneys

filed a motion to amend the complaint to (i) to add allegations to existing causes of action to

recover an additional $390,279.88 in TAM Debt Transfers, and (ii) to assert a new cause of action

against and to join the Subsequent Transferee Defendants as defendants based on their status as

subsequent transferees pursuant to CUFTA §§ 52-552(b)(i) and (h)(a)(i) (ECF No. 40, the “Motion

to Amend”). In total, the Motion to Amend and the attached third amended complaint (“Third

Amended Complaint”) increased the total amount claimed in the TAM Action to $1,860,029.

       43.     On July 26, 2018, the Court entered its order granting the relief requested in the

Motion to Amend (ECF No. 45). On August 1, 2018, Z&Z attorneys filed the Third Amended

Complaint (ECF No. 47), and on August 2, 2018, the Court issued its summons on the Subsequent

Transferee Defendants.

       44.     Prior to the Compensation Period, on September 7, 2018, Z&Z attorneys met with

Gleason and local counsel for the TAM Defendants to discuss the possibility of a global settlement.

At the September 7 meeting, Gleason informed Z&Z attorneys that the Third Amended Complaint



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misidentified Gleason’s wife (one of the Subsequent Transferee Defendants) as Rachael Taxman,

instead of using her correct name, Robin Taxman. Gleason also explained how the alleged TAM

Debt Transfers had not been on account of any goods or services provided for the benefit of the

TAM Defendants. Instead, according to Gleason, they constitute another fraud by Varacchi upon

Sentinel and the Relief Defendants, as well as the TAM Defendants.

        45.    On September 12, 2018, Z&Z attorneys amended the Third Amended Complaint

solely to correct the name of the defendant, as Robin Taxman. (ECF No. 52, the “Fourth Amended

Complaint”).

        46.    Z&Z attorneys have since and during the Compensation Period in particular

negotiated with Gleason and counsel for Edmond Tschan to attempt to resolve the Receivership

Estate’s claims as stated in the Fourth Amended Complaint.

        47.    Based upon the various possible defenses and collectability issues raised, the

Receiver recognized challenges in continuing to pursue his claims in this civil action. Additionally,

after exchanging offers and developing additional terms, the TAM Defendants and Edmond

Tschan ultimately made a settlement offer that the Receiver believes maximizes the value that

could be recovered on account of these claims and is in the best interest of the Receivership Estate

especially when considering the costs, risks and ongoing delay of further litigation. Accordingly,

the Receiver accepted this offer subject to this Court’s approval.

        48.    During and after the Compensation Period, the Receiver’s and Tschan’s counsel,

and Gleason negotiated the specific terms and conditions of their settlement and set them forth in

a written Settlement Agreement. The parties ultimately entered into it effective as of March 28,

2019.

        49.    The Receiver has since filed on April 12, 2019, his Motion for Entry of an Order



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Approving Settlement Agreement Bertween the Receiver and Taran Asset Management, LLC,

Christopher Gleason, Edmond W. Tschan III, Robin Taxman and Myron Taxman. (ECF No. 103.)

In summary, Tschan agreed to settle all claims against him in exchange for $200,000 and the TAM

Defendants agreed to settle in exchange for Gleason’s payment of $50,000 made within one year,

and secured by a mortgage. The terms and conditions of the settlement are fully set forth in the

Settlement Agreement appended to the above referenced motion seeking this Court’s approval.

       F.      Litigation – Sarroff Action

       50.     During the Compensation Period, the Receiver and Z&Z continued to prosecute

their lawsuit captioned, Jed Horwitt Esq., Receiver v. Alan Sarroff et al., (Civil Action No.: 3:17-

cv-01902-VAB) (the “Sarroff Action”), against Alan L. Sarroff (“Sarroff”), A.L. Sarroff

Management, LLC (“Sarroff Management”), and A.L. Sarroff Fund, LLC (collectively, the

“Sarroff Defendants”), in the United States District Court for the District of Connecticut.

       51.     The Sarroff Action seeks to recover pursuant to Connecticut’s Uniform Fraudulent

Transfer Act, Conn. Gen. Stat. §§ 52-552 et seq. (“CUFTA”) over $14 million that Varacchi caused

Sentinel and Radar LP to pay to or for the benefit of the Sarroff Defendants (the “Sarroff

Transfers”).

       52.     The Sarroff Transfers sought to be avoided as fraudulent transfers consist of: (i) a

$7.3 million three-day loan repayment on a loan originally made to cover a day trading margin

call; (ii) a $125,000 “fee” for that loan and an additional $25,000 “kicker”; and (iii) “investment”

related transfers totaling in excess of $7.7 million.

               a. Receiver’s Ongoing Discovery Efforts Regarding the Sarroff Defendants

       53.     Prior to the Compensation Period, on May 11, 2018, the Receiver served the

Original Sarroff Defendants with his first set of Interrogatories and Requests for Production (the

“Receiver’s Discovery Requests”). Z&Z attorneys negotiated with counsel to the Original Sarroff
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Defendants to attempt to resolve any objections they had to the Receiver’s Discovery Requests

and to ensure the Original Sarroff Defendants’ timely compliance with their obligations under the

Federal Rules of Civil Procedure.

       54.     As a result of Z&Z’s efforts, on July 13, 2018, the Original Sarroff Defendants

partially complied with the Receiver’s Discovery Requests and produced over 18,000 pages of

responsive documents and communications (the “July 13 Documents”). Prior to and during the

Compensation Period, Z&Z attorneys engaged in an extensive review of the July 13 Documents

in order to develop further the documentary record necessary to satisfy the Receiver’s burden of

proof in the Sarroff Action and rebut the Sarroff Defendants’ affirmative defenses.

       55.     One objection that the parties were not able to resolve was the production of

documents evidencing the subsequent transfer of the proceeds of the Sarroff Transfers. The

Original Sarroff Defendants asserted that this information requested was not discoverable in the

Sarroff Action. Of course, the Receiver could not seek the avoidance of subsequent transfers in

the Sarroff Action without first discovering whether they had been made and, if so, when, how

much and who received the subsequent transfers.

       56.     Because this Court as part of its appointment order had authorized the issuance of

subpoenas in the Receivership Proceeding to enable the Receiver to fulfill his duties (one of which

was to investigate possible causes of action), the Receiver, by his counsel, on August 31, 2018,

served subpoenas out of this SEC Enforcement Action on Sarroff Management and the Sarroff

Fund seeking (i) documents sufficient to show their legal relationship to each other; and (ii)

documents identifying all transfers between Sarroff Management and the Sarroff Fund that in any

way concern investments into the Receivership Defendants and the transfer or subsequent transfer

of funds received from the Receivership Defendants (the “August 31 Subpoenas”).



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       57.     On October 12, 2018, Sarroff Management and Sarroff Fund responded by stating

that they would not comply with the August 31 Subpoenas by providing documents responsive to

the Receiver’s requests.

       58.     On November 1, 2018, Z&Z attorneys and counsel for Sarroff Management and the

Sarroff Fund engaged in a telephonic conference to meet and confer regarding the Subpoenas and

the Objection thereto. During that conference, Z&Z attorneys indicated that the Receiver would

likely accept documents sufficient to evidence (i) transfers between Sarroff Management and the

Sarroff Fund that relate to investments in or transfers from the Receivership Defendants (subject

to an agreement regarding how the relationship between transfers and the Receivership Defendants

would be determined); and (ii) the relationship between Sarroff Management and the Sarroff Fund

as it concerns transfers to or from, or their relationship with, the Receivership Defendants. Sarroff

Management and the Sarroff Fund communicated their outright refusal to provide any statements

identifying transfers beyond the heavily redacted statements that Sarroff Management already

provided (which are limited to Sarroff Management’s direct transfers to, and receipts from, the

Receivership Defendants). They further indicated that they would discuss internally the Receiver’s

request concerning the legal relationship between Sarroff Management and the Sarroff Fund, but

failed to follow up with Z&Z attorneys regarding this request.

       59.     Accordingly, the Receiver filed a Motion to Compel Sarroff Management and

Sarroff Fund to comply with the August 31 Subpoenas (narrowed as set forth therein), together

with supporting memorandum of law and affidavit, on the above-captioned docket. (See Case No.

17-cv-155 (KAD), ECF Nos. 77-79, together, the “Motion to Compel”.)

       60.     On November 26, 2018, Sarroff Management and Sarroff Fund filed a

memorandum in opposition to the Receiver’s Motion to Compel. (Id., ECF No. 80.) On December



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7, 2018, Z&Z attorneys filed the Receiver’s response to Sarroff Management’s memorandum in

opposition. (Id., ECF No. 82.)

       61.     On January 30, 2019, Judge Dooley granted the Motion to Compel in its entirety,

(ECF No. 84), holding as follows:

       The subpoenas at issue do not fall outside the scope of authorized discovery. The
       Receiver is continuing to discharge his Court Ordered obligations, which of necessity
       involves further discovery by him. The Court further finds that the information and
       documents sought, as limited by the motion itself, is relevant to the discharge of these
       obligations, and the subpoenas are not overly broad and/or burdensome upon either A.L.
       Sarroff Management, LLC or A.L. Sarroff Fund, LLC. The Court accepts that these
       entities have a legitimate privacy concern in these documents but notes that the Court has
       issued the Standing Protective Order applicable in civil cases in this matter. It shall
       govern and protect the disclosures made by these Sarroff entities. Accordingly, on or
       before February 20, 2019, A.L. Sarroff Management, LLC and A.L. Sarroff Fund, LLC
       shall produce to the Receiver: (1) documents sufficient to show the Sarroff Entities legal
       relationship to each other in all respects that concern the Receivership Defendants, and
       (2) documents identifying all transfers between the Sarroff Entities that in any way
       concern investments into the Receivership Defendants and the transfer or subsequent
       transfer of funds received from the Receivership Defendants.

       62.     In response to item (2) above, the Sarroff Entities merely re-produced the

statements from the same Sarroff Management account as had been produced previously; again

with heavy redactions, but, in many instances, redacting entries that had previously been disclosed

or disclosing entries that had previously been redacted without any explanation for the revisions.

From these account statements, the Receiver and his counsel could not determine “all transfers

between the Sarroff Entities that in any way concern investments into the Receivership Defendants

and the transfer or subsequent transfer of funds received from the Receivership Defendants” as

required by Judge Dooley’s Order.

       63.     After numerous attempts to explain to the Sarroff Entities’ counsel why the Sarroff

Entities had not complied with Judge Dooley’s Order and obtain a commitment that compliance

would be forthcoming, all to no avail, on March 6, 2019, the Receiver filed his Motion for



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Contempt against the Sarroff Entities (ECF No. 91) for their noncompliance with Judge Dooley’s

Order.

         64.   After the Sarroff Entities did not timely respond to the Motion for Contempt, the

Receiver on April 2, 2019, filed, along with the Sarroff Entities, their Joint Motion for Discovery

Conference (ECF No. 99). This Court held such conference on April 9, 2019, at which time the

Court declined to hold the Sarroff Entities in contempt but ordered the Sarroff Entities to produce

“all documents and information required to be produced by the Sarroff Entities under Judge

Dooley’s Order granting the Receiver’s motion to compel, ECF No. 84, … in unredacted form by

April 19, 2019.” (ECF No. 102.)

         65.   During the Compenstaion Period the Receiver also served several third party

subpoenas compelling the production of documents and deposition testimony. The Receiver also

served two notices of party depositions. The Receiver please to depose several party and non-party

witnesses during the months of May and June, 2019.

               b. Defendants’ Motion to Transfer to Another District or Dismiss

         66.   On January 4, 2019, the Sarroff Defendants filed their Motion to Transfer Matter

to the United States District Court for the Southern District of New York and to Dismiss the Second

Amended Complaint (the “Motion to Transfer or Dismiss”), together with memorandum of law

and supporting affidavits (ECF Nos. 68-70).

         67.   The Motion to Transfer or Dismiss alleged, in summary, that: (i) the forum selection

clause contained in the Investment Mangement Agreement entered into between Sarroff

Management and Sentinel should be enforced against the Receiver and require the transfer of the

Sarroff Action to the United States District Court for the Southern District of New York; (ii) the

constructive and intentional fraudulent conveyance claims fail as a matter of law and should be



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dismissed.

       68.     On January 25, 2019, the Receiver timely responded to the Motion to Transfer or

Dismiss, arguing that: (i) the forum selection clause does not apply to the fraudulent conveyance

claims alleged and cannot be enforced against the Receiver; and (ii) the Receiver has alleged valid

claims for constructive and intentional fraudulent conveyance against the Sarroff Defendants.

       69.     The parties thereafter each submitted further briefing.

       70.     On March 7, 2019, the Court heard oral argument on the Motion to Transfer or

Dismiss, and then took the matter under advisement.

               c. Receiver’s Application for Prejudgment Remedy

       71.     Prior to the Compensation Period, Z&Z attorneys drafted and, on December 14,

2018, filed an application for prejudgment remedy (ECF No. 65, the “PJR Application”) and a

Motion for Disclosure of Assets (ECF No. 66, the “Motion for Disclosure”) against the Sarroff

Defendants. The PJR Application seeks a court order attaching property of the Sarroff Defendants

in an amount sufficient to satisfy the entry of a $7,744,109.23 judgment ($7,306,768.57 against

Sarroff Management and Sarroff Fund, and $437,340.66 against Sarroff, individually)

       72.     This Court scheduled the hearing to considering the Receiver’s PJR Application for

May 7, 2019, at 9:00 a.m. and continuing through May 9, 2019.

               d. Amended Scheduling Order

       73.     On February 11, 2019, this Court held a telephonic status conference in this matter.

On February 12, 2019, this Court entered its Amended Scheduling Order (ECF No. 81),

establishing, inter alia, the following schedule:

                  Discovery shall closed by September 6, 2019;
                  Dispositive motions are due by October 31, 2019;
                  Joint trial memorandum is due by November 8, 2019 if no dispositive motion
                   is filed, or 30 days after the Court rules on any dispositive motion; and

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                  Trial ready dated is December 2, 2019 if no dispositive motion is filed, or 30
                   days after the filing of the joint trial memorandum.

       G.      Further Investigation into and Demand upon Weeden Prime Services, LLC
               and Related Persons

       74.     During the Compensation Period, the Receiver and Z&Z attorneys continued their

investigation into and development of potential causes of action against Weeden Prime Services,

LLC (“Weeden Prime”) and related persons.

       75.     Prior to the Compensation Period, Z&Z attorneys drafted a proposed statement of

claim asserting the Receivership Estate’s claim for damages against Weeden Prime, Weeden &

Co., LP (“Weeden Co.”, referred to collectively along with Weeden Prime as “Weeden”), and two

registered representatives of Weeden Prime, Sohail Khalid aka Syed Mahmoud Khalid (“Khalid”)

and Christopher LaGrego (“LaGrego”, referred to collectively along with Weeden and Khalid as

“Weeden Respondents”).

       76.     Also prior to the Compensation Period, Z&Z attorneys drafted a motion for leave

to commence arbitration against the Weeden Respondents, which, on or about November 21, 2018,

Z&Z attorneys circulated to counsel for Weeden.

       77.     After discussions concerning potential claims, the Receiver agreed to delay filing

the motion for leave to commence arbitration against the Weeden Respondents until the parties

had an opportunity to discuss them in more detail (including discussing the prospect of settlement).

       78.     Z&Z attorneys negotiated and memorialized the terms of a tolling agreement with

the Weeden Respondents to preserve the Receivership Estate’s claims during the parties’

discussions.

       79.     The Receiver has since been extensively engaged in settlement discussions with the

Weeden Respondents, making substantial progress.

       80.     The tolling agreement currently expires on May 16, 2019, and may be further
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extended if the Receiver and the Weeden Respondents determine that further discussions would

be productive.

        81.      The Receiver is not in a position at this time to report on the prospect of settling the

Receivership Estate’s claims against the Weeden Respondents or to predict the extent of any

recovery as a result of arbitration.

        82.      In the event the Receiver determines arbitration against the Weeden Respondents

is in the best interest of the Receivership Estate, the Receiver will move for leave to commence

arbitration.

        H.       Investigation into and Demand upon Ralph Giorgio

        83.      During the Compensation Period, Z&Z attorneys continued their investigation into

potential causes of action against Ralph Giorgio (“Giorgio”).

        84.      Giorgio became a manager on the Sentinel platform and was added to Sentinel’s

payroll in December 2015. From December 2015 to May 2016, Giorgio received a gross monthly

salary of $2,058.34 from Sentinel. In June 2016, at Giorgio’s request, Varacchi caused Sentinel to

increase Giorgio’s gross monthly salary to $20,000. From June 2016 until the collapse of

Varacchi’s Ponzi scheme, Giorgio received more than $120,000 from Sentinel (the “Giorgio

Transfers”).

        85.      Upon information and belief, Sentinel did not receive reasonably equivalent value

in exchange for the Giorgio Transfers. The Giorgio Transfers were not a draw upon incentive-

based payments as Giorgio did not manage sufficient assets on the Sentinel platform to justify the

amount received. Rather, upon information and belief, the Giorgio Transfers were made with the

expectation that the money would be repaid either to Sentinel or Varacchi.

        86.      The Receiver has prepared and intends to filed shortly a request for leave to

commence an action against Giorgio to recover the Giorgio Transfers. The Receiver has also
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prepared a Complaint against Giorgio seeking such relief.

       87.     The Receiver’s counsel shared both the motion for leave and the draft Complaint

with Giorgio’s counsel in the hopes of initiating settlement discussions, and has not received any

response to date.

       I.      Investigation of Private Investments

       88.     During the Compensation Period, the Receiver continued to investigate the Private

Investments. The Receiver has researched and analyzed various entities that identified as

potentially constituting Private Investments which the Receiver may recover for the benefit of the

Receivership Estate.

       89.     After reviewing the records of the Receivership Estate, as well as the documents

produced pursuant to the Receiver’s requests, the Receiver has preliminarily determined that the

investments in Zipway LLC, Gravy, Inc., Invigilio, LLC, and Greenhouse Solutions, Inc. are

unlikely to provide any value to the Estate. Comparatively, the Receiver has not yet determined if

the value realized by liquidating the Receivership Estate’s interests in Kizzang, Entourage, Roots,

and StereoCast would justify the costs of doing so.

       90.     The Receiver has engaged in the process of determining how to liquidate the

Receivership Estate’s interest in Kizzang, Entourage, Roots, and StereoCast in such a way as to

maximize the value available for distribution to Claimants.

       91.     At the same time, the Receiver and Z&Z attorneys are evaluating potential

fraudulent transfer and other causes of action against the companies underlying the Private

Investments.

       92.     During the Compensation Period, Z&Z attorneys continued to investigate the

prospect of liquidating the Receivership Estate’s rights under pending class-action securities

lawsuits. The Receivership Entities generated a disproportionately high volume of trades
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considering their assets. These trades may entitle the Receivership Entities to recover as a class

member from certain class-action securities lawsuits.

          93.   Because class-action securities lawsuits take approximately four to seven years to

generate proceeds, claims liquidators are often engaged either to administer the process in

exchange for a percentage of the proceeds, or to liquidate the class-action claims portfolio by

offering its approximate present value.

          94.   Z&Z attorneys entered into non-disclosure agreements with two class-action claims

liquidating companies and provided each with the trading data necessary to evaluate the

Receivership Estate’s claims portfolio. As of the filing of this Application, the claims liquidators’

analysis is not complete.

          95.   In the event that the Receiver determines it is in the best interest of the Receivership

Estate to sell the class-action claims portfolio, he will file a motion for authority to do so with the

Court. Alternatively, if the class-action claims portfolio is of de minimis value to a liquidator, the

Receiver may evaluate the costs and benefits of engaging Z&Z staff to oversee the administrative

task of filing the class-action claims independently.Actual and Anticipated Disbursement of

Assets.

          J.    Actual and Anticipated Disbursement of Assets

          96.   The Receiver did not make any disbursements during the Compensation Period.

          97.   On April 2, 2019—after the Compensation Period, but before the submission of

this Application—this Court granted the Receiver’s Seventh Interim Application for Professional

Fees and Expenses Incurred By the Receiver and His Professionals, dated February 13, 2019 (ECF

No. 88) (“Order Granting Seventh Fee Application”), awarding $168,969.60 for professional

services and $26,947.88 for reimbursement of expenses incurred by Z&Z, and $49,166.00 for

professional services provided by V&L.
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       98.     On April 10, 2019, the Receiver disbursed $26,947.88 to Z&Z in reimbursement

for the expenses awarded and as authorized by the Order Granting Seventh Fee Application.

       99.     To date, the Receiver has not yet paid the allowed professional fees incurred during

the fourth quarter of 2018. Once the Receivership Estate recovers additional amounts such that

funds are available to pay such allowed professional fees, the Receiver expects to make such

payments.

       100.    The Receiver, V&L, and Z&Z have incurred fees for their services and Z&Z have

advanced all necessary expenses, which are requested for reimbursement through this Application.

(See Exs. C and F.)

       101.    Provided that the Court awards the fees and expenses requested in this Application,

appropriate disbursements, if made, will be reflected on the Receiver’s next interim fee application

filed after such award.

       102.    The Receiver holds cash on hand the Receivership Account and the Reserve

Account. As of March 31, 2019, the balance of the Receivership Account is $266,495.39, and the

balance of the Reserve Account is $801,365.01. Thus, the total cash on hand in the Receivership

Account and the Reserve Account is $1,067,860.40.

       K.      Anticipated Closure

       103.    At this time, it is premature for the Receiver to speculate as to when this

Receivership Proceeding will be ready to close.




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IV.     DESCRIPTION OF ASSETS OF THE RECEIVERSHIP ESTATE

        104.   As of the end of the Compensation Period, the following assets are a part of the

Receivership Estate:

               a.      The Receivership Account, which is valued at $266,495.39;

               b.      The Reserve Account, which is valued at $801,365.01;

               c.      The Private Investments, which value the Receiver is presently
                       investigating; and

               d.      Any and all causes of action to recover money and possibly other assets for
                       the benefit of the Receivership Estate, which causes of action the Receiver
                       is presently investigating and evaluating, including, but not limited to, the
                       claims against the TAM Defendants, the Sarroff Defendants, the Rajo
                       Defendants, Kostiner, Weeden Prime, Kizzang, Entourage, and Giorgio.

        105.   With respect to the Private Investments, the Receiver has identified the following

securities:

               a.      Kizzang: 3,600,000 Class C shares, 5,400,000 Class D shares, and
                       1,152,666 Class E evidenced by certificates identifying Varacchi as the
                       owner of such interest;

               b.      Greenhouse: 250,000 shares, evidenced by a certificate identifying
                       Varacchi as the owner of such interest; and

               c.      StereoCast: 150,000 shares in the name of Varacchi, evidenced by a
                       certificate identifying Varacchi as the owner of such interest.

        106.   The Receiver is investigating how best to liquidate and maximize the value of these

equity interests in Kizzang, Entourage, Roots, and StereoCast.




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V.      THE COURT SHOULD AWARD THE REQUESTED FEES AND EXPENSES

        A. The Governing Legal Standard

        107.    The District Court has the power to appoint a receiver and to award the receiver

fees for his services and for expenses incurred by the Receiver in the performance of his duties.

See Donovan v. Robbins, 588 F. Supp. 1268, 1272 (N.D. Ill. 1984) (“[T]he receiver diligently and

successfully discharged the responsibilities placed upon him by the Court and is entitled to

reasonable compensation for his efforts.”); see also Securities & Exchange Comm’n v. Elliott, 953

F. Supp. 1560 (11th Cir. 1992) (receiver is entitled to compensation for faithful performance of

his duties.).

        108.    The District Court has discretion to determine compensation to be awarded to a

court-appointed equity receiver and his counsel and “may consider all of the factors involved in a

particular receivership in determining the appropriate fee.” Gaskill v. Gordon, 27 F.3d 248, 253

(7th Cir. 1994).

        109.    The case law and other authority may provide “convenient guidelines,” but

ultimately “the unique fact situation renders direct reliance on precedent impossible.” Securities

& Exchange Comm’n v. W.L. Moody & Co., 374 F. Supp. 465, 480 (S.D. Tex. 1974), aff’d, 519 F.

2d 1087 (5th Cir. 1975).

        110.    In awarding counsel fees in Securities Act receiverships, “[t]he court will consider

... the complexity of problems faced, the benefit to the receivership estate, the quality of work

performed, and the time records presented.” Securities & Exchange Comm’n v. Fifth Ave. Coach

Lines, Inc., 364 F. Supp. 1220, 1222 (S.D.N.Y. 1973); see also United States v. Code Prods., 362

F.2d 669, 673 (3rd Cir. 1966) (court should consider the time, labor and skill required (but not

necessarily expended), the fair value of such time, labor and skill, the degree of activity, the

dispatch with which the work is conducted and the result obtained).

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       111.    While “results are always relevant,” a good result may take a form other than a

“bare increase in monetary value.” Securities & Exchange Comm’n v. Elliott, 953 F.2d 1560, 1577

(11th Cir. 1992) (“Even though a receiver may not have increased, or prevented a decrease in, the

value of the collateral, if a receiver reasonably and diligently discharges his duties, he is entitled

to compensation.”). Overall results can be determined only at the conclusion of the Receivership

Proceeding.

       112.    Another “basic consideration is the nature and complexity of the legal problems

confronted and the skill necessary to resolve them.” Moody, 374 F. Supp. at 485. Moreover, “[t]ime

spent cannot be ignored.” Id. at 483.

       B.      Application of the Governing Legal Standard to the Application

       113.    Based on the foregoing, the Receiver, Z&Z, and V&L respectfully submit that the

services for which they seek compensation in this Application were necessary for, and beneficial

to, the orderly administration of the Receivership Estate.

       114.    As more fully set forth throughout this Application and as detailed in the exhibits

submitted herewith, the issues addressed by the Receiver, Z&Z, and V&L have been and continue

to be highly complex, requiring investigation of an alleged fraud that spanned years, consisted of

many poorly-documented transactions and involved numerous investors, Private Investments and

financial institutions. The Receiver, Z&Z, and V&L have made substantial progress in

investigating the Receivership Estate’s assets and in commencing and prosecuting litigation on

behalf of the Receivership Estate.

       115.    The Receiver, Z&Z, and V&L respectfully submit that compensation for the

foregoing services as requested is commensurate with the complexity, importance and nature of

the problems, issues or tasks involved. The professional services were performed expediently and

efficiently. Substantial progress has been accomplished during the Compensation Period and since
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the Receiver’s appointment May 1, 2017.

       116.    At the same time, the Receiver, Z&Z, and V&L have agreed to considerable public

service discounts, which exceeded even those generous discounts offered in the Receiver’s initial

application.

       117.    Furthermore, the Commission has reviewed this Application and has stated that it

has no objection to the approval of the professional fees and expenses requested herein.

       118.    Accordingly, the Receiver, Z&Z, and V&L submit that the compensation requested

herein is fair, reasonable and warranted in light of the nature, extent and value of such service to

the Receivership Estate and all parties-in-interest.

       C.      Source and Manner of Payment

       119.    The Receivership Estate includes cash held in the Receivership Account. The

Receiver, Z&Z, and V&L request that the Court enter an order allowing and permitting the

approved fees and reimbursed expenses to be paid from the Receivership Account, less the 20%

holdback (applicable only to fees); provided, however, that the Receiver acknowledges that the

Receivership Account presently holds insufficient funds to actually make payment at this time.

The Receiver intends to hold sufficient funds (in his discretion after consultation with the

Commission) for various litigation costs such as experts, depositions, transcripts, etc., as well as

the ordinary operating costs of the receivership. Z&Z and V&L understand and agree to suspend

payment in the amount of their fees and expenses until further deposits have been made and

sufficient funds have been reserved for these anticipated litigation and administrative costs.

       WHEREFORE, Jed Horwitt, Esq., Receiver, and Zeisler & Zeisler, P.C., counsel to the

Receiver, respectfully request that (i) this Application be granted; (ii) the Receiver and Z&Z be

awarded an allowance of $228,549.40 for legal services rendered during the Compensation Period,

and $34,253.24 for the reimbursement of expenses, subject to a 20% holdback applicable to fees
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for services; (iii) V&L be awarded an allowance of $14,686.40 for services rendered during the

Compensation Period, and $0.00 for the reimbursement of expenses, subject to a 20% holdback

applicable to fees for services; and (iv) grant such other and further relief as this Court deems just

and proper.

       Dated at Bridgeport, Connecticut, this 23rd day of April, 2019

                                                      Respectfully submitted,

                                                      JED HORWITT, ESQ., RECEIVER


                                                      /s/ Jed Horwitt
                                                      Jed Horwitt, Receiver



                                                   By: /s/ Stephen M. Kindseth
                                                      Stephen M. Kindseth (ct14640)
                                                      Zeisler & Zeisler, P.C.
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                                                      Email: skindseth@zeislaw.com
                                                      His Attorneys




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                                 CERTIFICATE OF SERVICE

       I, Stephen M. Kindseth, hereby certify that a copy of foregoing was filed electronically and

served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent by e-

mail to all parties by operation of the Court’s electronic filing system or by mail to anyone unable

to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access this

filing through the Court’s CM/ECF System and also at http://jedhorwittreceiver.com/.




                                                      /s/ Stephen M. Kindseth
                                                      Stephen M. Kindseth (ct14640)




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